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                      EXHIBIT E
             Case: 1:21-cv-00522 Document #: 169-5 Filed: 06/19/24 Page 2 of 29 PageID #:1325


McQueen, Allison L.

From:                Matthews, Jordan M.
Sent:                Friday, June 7, 2024 11:01 AM
To:                  Gabrielle Vinci
Cc:                  Biesenthal, Bethany K.; McQueen, Allison L.; Hart, Robert F.; Lee, Andrew; Lanchantin, Holly; Jordan
                     Tuchman; Andrew T. Miltenberg; Kara Gorycki; damon@cheronislaw.com
Subject:             RE: Richardson v. Northwestern University, et al. -- Discovery Responses for Amanda DaSilva


Gabrielle,

Two weeks have now passed with no response to the emails we sent on May 20 and May 24. And, apart from the small
production we received on Wednesday, June 5 (PLTF001587–001703), the issues laid out in detail in our deficiency
letters and the emails below have not been remedied.

We would like to schedule one final meet and confer in the hopes of moving discovery forward before involving the
Court. Please let us know if you are available in one of these windows next week:
   • Monday, June 10: 10:30–2:00 p.m. CT
   • Tuesday, June 11: 10:00–12:00 p.m. CT or any time after 1:30 p.m. CT

Best,
Jordan


Jordan M. Matthews (bio)
Partner
JONES DAY® - One Firm Worldwide®
110 N. Wacker Dr., Suite 4800
Chicago, Illinois 60606
Office 312.269.4169
jmatthews@jonesday.com

From: McQueen, Allison L. <amcqueen@jonesday.com>
Sent: Friday, May 24, 2024 2:08 PM
To: Gabrielle Vinci <GVinci@nmllplaw.com>
Cc: Matthews, Jordan M. <jmatthews@jonesday.com>; Biesenthal, Bethany K. <bbiesenthal@jonesday.com>; Hart,
Robert F. <rhart@jonesday.com>; Lee, Andrew <andrewlee@jonesday.com>; Lanchantin, Holly
<hlanchantin@jonesday.com>; Jordan Tuchman <jtuchman@nmllplaw.com>; Andrew T. Miltenberg
<AMiltenberg@nmllplaw.com>; Kara Gorycki <KGorycki@nmllplaw.com>; damon@cheronislaw.com
Subject: RE: Richardson v. Northwestern University, et al. -- Discovery Responses for Amanda DaSilva

Gabrielle,

Thank you for providing Plaintiff’s Second Amended Interrogatory Responses and first ESI production earlier in the week.

There are two outstanding issues with Plaintiff’s Interrogatory Responses that we wanted to bring to your attention:
   • In the Second Amended Interrogatory Responses we received on Tuesday, May 21, Plaintiff failed to confirm
        that she is not withholding any information on the basis of her objections or a claim of privilege in her response
        to Interrogatory No. 8.


                                                             1
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    •   Also in response to Interrogatory No. 8, Plaintiff lumped Elizabeth Pardoe in with her description of information
        she shared with former members of the Spirit Squad. Ms. Pardoe is a Northwestern University
        professor. Please provide a separate description of the information Plaintiff provided to Ms. Pardoe regarding
        “any alleged inappropriate touching, exploitation, or verbal harassment that Plaintiff experienced while a
        member of the Spirit Squad.

We are hoping that both of these outstanding issues will be a quick fix. Please let us know when we can expect to
receive an amended response to Interrogatory No. 8.

With respect to our outstanding document requests, it appears that a significant number of screenshots were included
in your May 21 production (to identify just a few, PLTF000888 and PLTF000898–000910). We are also missing various
emails in each chain and the attachments to emails. In fact, when we uploaded Plaintiff’s production to Relativity, there
was not a single document in the production that was part of a family. Could you describe the process you used for the
collection of Plaintiff’s ESI, please? Plaintiff needs to collect—and produce—native files rather than cherry-picking
portions of email conversations for production.

In addition to clarifying Plaintiff’s collection process and letting us know when these materials will be re-produced,
please let us know when we can expect the following (as requested in the May 20 email below):

    1. Plaintiff’s next rolling ESI production;

    2. The date on which you anticipate all of Plaintiff’s ESI will be produced;

    3. Hard copy documents that are responsive to Polisky’s requests for production, particularly Request Nos. 4–5, 8,
       13–15, 17–18, 22, 25, 29–32, 35–41, 43–47, and 49;

    4. Written confirmation that Plaintiff is not withholding any documents based on her objections and claims of
       privilege; and

    5. Amended responses to Polisky’s requests for production confirming that all responsive documents have been
       produced or, alternatively, that there are no documents responsive to a particular request.

We would prefer to resolve these outstanding deficiencies without court intervention but, as I hope you can appreciate,
the continued delays are bringing us ever closer to the fact discovery deadlines (particularly the deadline to schedule
depositions). Next Friday, May 31, will be exactly seven months since Plaintiff received our discovery requests. If we
are still waiting for a substantial portion of Plaintiff’s production on that date—both properly-produced ESI and the hard
copy documents we’ve requested—we will have no choice but to file a motion to compel.

Best,
Ally

Allison (Ally) McQueen
Associate
JONES DAY® - One Firm Worldwide℠
110 North Wacker Drive
Chicago, IL 60606
Office +1.312.269.1541
amcqueen@jonesday.com

From: McQueen, Allison L.
Sent: Monday, May 20, 2024 7:40 PM
To: Gabrielle Vinci <GVinci@nmllplaw.com>
Cc: Matthews, Jordan M. <jmatthews@jonesday.com>; Biesenthal, Bethany K. <bbiesenthal@jonesday.com>; Hart,
                                                             2
                                Case: 1:21-cv-00522 Document #: 169-5 Filed: 06/19/24 Page 4 of 29 PageID #:1327

Robert F. <rhart@jonesday.com>; Lee, Andrew <andrewlee@jonesday.com>; Lanchantin, Holly
<hlanchantin@jonesday.com>; Jordan Tuchman <jtuchman@nmllplaw.com>; Andrew T. Miltenberg
<AMiltenberg@nmllplaw.com>; Kara Gorycki <KGorycki@nmllplaw.com>; damon@cheronislaw.com
Subject: RE: Richardson v. Northwestern University, et al. -- Discovery Responses for Amanda DaSilva

Hi Gabrielle,

Thank you for updating us on the timing of Plaintiff’s second amended interrogatory responses and initial ESI
production.

Please let us know when we can expect to receive the other items laid out in our March 7 and May 3 deficiency letters
(and discussed during our call last Monday), namely:

                           (1) Written confirmation that Plaintiff is not withholding any responsive information or documents based on her
                               objections and claims of privilege;

                           (2) Hard copy documents that are responsive to Polisky’s requests for production, particularly Request Nos. 4–5, 8,
                               13–15, 17–18, 22, 25, 29–32, 35–41, 43–47, and 49; and

                           (3) Amended responses to Polisky’s requests for production confirming that all responsive documents have been
                               produced or, alternatively, that there are no documents responsive to a particular request.

Also, thank you for updating us on Plaintiff’s availability for her deposition. We will discuss available dates in mid- to
late-July with our co-defendants and revert back.

Best,
Ally

Allison (Ally) McQueen
Associate
JONES DAY® - One Firm Worldwide℠
110 North Wacker Drive
Chicago, IL 60606
Office +1.312.269.1541
amcqueen@jonesday.com

From: Gabrielle Vinci <GVinci@nmllplaw.com>
Sent: Monday, May 20, 2024 6:28 PM
To: McQueen, Allison L. <amcqueen@jonesday.com>
Cc: Matthews, Jordan M. <jmatthews@jonesday.com>; Biesenthal, Bethany K. <bbiesenthal@jonesday.com>; Hart,
Robert F. <rhart@jonesday.com>; Lee, Andrew <andrewlee@jonesday.com>; Lanchantin, Holly
<hlanchantin@jonesday.com>; Jordan Tuchman <jtuchman@nmllplaw.com>; Andrew T. Miltenberg
<AMiltenberg@nmllplaw.com>; Kara Gorycki <KGorycki@nmllplaw.com>; damon@cheronislaw.com
Subject: RE: Richardson v. Northwestern University, et al. -- Discovery Responses for Amanda DaSilva
ZjQcmQRYFpfptBannerStart




                      This Message Is From an External Sender

                      If you are concerned about the message’s content, highlight the email in your inbox and click “Report Suspicious” in the Outlook
                      ribbon -or- contact 6Help.

ZjQcmQRYFpfptBannerEnd




Good afternoon, Allison,

                                                                                      3
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I just connected with my team at the office after being in CT for a hearing. They advised that the anticipated
production was not finalized by end of day but will be prepared to be served tomorrow. I am back in the office
tomorrow and will personally see that the responses and first ESI production are sent out. I also anticipate a
second ESI production in the latter half of the week.

Thank you,
Gabrielle




Gabrielle Vinci, Partner
363 Seventh Avenue, 5th Floor
New York, NY 10001-3904
212.736.4500 • 212.736.2260 fax
Vcard       •   nmllplaw.com

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please advise the sender by reply email and immediately delete the message and any attachments without copying or
disclosing the contents.



From: Gabrielle Vinci <GVinci@nmllplaw.com>
Sent: Friday, May 17, 2024 3:28 PM
To: McQueen, Allison L. <amcqueen@jonesday.com>
Cc: Matthews, Jordan M. <jmatthews@jonesday.com>; Biesenthal, Bethany K. <bbiesenthal@jonesday.com>; Hart,
Robert F. <rhart@jonesday.com>; Lee, Andrew <andrewlee@jonesday.com>; Lanchantin, Holly
<hlanchantin@jonesday.com>; Jordan Tuchman <jtuchman@nmllplaw.com>; Andrew T. Miltenberg
<AMiltenberg@nmllplaw.com>; Kara Gorycki <KGorycki@nmllplaw.com>; damon@cheronislaw.com
Subject: RE: Richardson v. Northwestern University, et al. -- Discovery Responses for Amanda DaSilva

Good afternoon, Allison,

Thank you for the call earlier this week. As a follow-up, I wanted to advise that I am in the process of finalizing
the amended discovery responses with Plaintiff and for her to verify them. I expect to serve them on Monday. In
addition, I have confirmed with our ESI team that they will be ready to prepare and begin rolling production of
ESI on Monday as I had anticipated.

In addition, I spoke with Ms. Richardson regarding her deposition and she has advised that she has open
availability during the target timeframe (mid-late July) for her deposition.

I will let you know if there are any changes to the above schedule though I do not anticipate any. Thank you and
have a good weekend.

Best,
Gabrielle

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Gabrielle Vinci, Partner
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please advise the sender by reply email and immediately delete the message and any attachments without copying or
disclosing the contents.



From: McQueen, Allison L. <amcqueen@jonesday.com>
Sent: Thursday, May 9, 2024 12:18 PM
To: Gabrielle Vinci <GVinci@nmllplaw.com>
Cc: Matthews, Jordan M. <jmatthews@jonesday.com>; Biesenthal, Bethany K. <bbiesenthal@jonesday.com>; Hart,
Robert F. <rhart@jonesday.com>; Lee, Andrew <andrewlee@jonesday.com>; Lanchantin, Holly
<hlanchantin@jonesday.com>; Jordan Tuchman <jtuchman@nmllplaw.com>; Andrew T. Miltenberg
<AMiltenberg@nmllplaw.com>; Kara Gorycki <KGorycki@nmllplaw.com>; damon@cheronislaw.com
Subject: RE: Richardson v. Northwestern University, et al. -- Discovery Responses for Amanda DaSilva

I’ll send an updated invite for Monday at 11:00 ET.

Allison (Ally) McQueen
Associate
JONES DAY® - One Firm Worldwide℠
110 North Wacker Drive
Chicago, IL 60606
Office +1.312.269.1541
amcqueen@jonesday.com

From: Gabrielle Vinci <GVinci@nmllplaw.com>
Sent: Thursday, May 9, 2024 11:08 AM
To: McQueen, Allison L. <amcqueen@jonesday.com>
Cc: Matthews, Jordan M. <jmatthews@jonesday.com>; Biesenthal, Bethany K. <bbiesenthal@jonesday.com>; Hart,
Robert F. <rhart@jonesday.com>; Lee, Andrew <andrewlee@jonesday.com>; Lanchantin, Holly
<hlanchantin@jonesday.com>; Jordan Tuchman <jtuchman@nmllplaw.com>; Andrew T. Miltenberg
<AMiltenberg@nmllplaw.com>; Kara Gorycki <KGorycki@nmllplaw.com>; damon@cheronislaw.com
Subject: Re: Richardson v. Northwestern University, et al. -- Discovery Responses for Amanda DaSilva
I have open availability on both days between 11-12: 30 and then again from 2: 00-6: 00. Gabrielle Vinci, Partner 363 Seventh Avenue, 5th Floor New York, NY 10001-3904 212. 736. 4500 • 212. 736. 2260 fax Vcard • nmllplaw. com NOTICE:




I have open availability on both days between 11-12:30 and then again from 2:00-6:00.




                                                                                                                                                                                                                                            5
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Gabrielle Vinci, Partner
363 Seventh Avenue, 5th Floor
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Vcard • nmllplaw.com

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please advise the sender by reply email and immediately delete the message and any attachments without copying or
disclosing the contents.




        On May 9, 2024, at 9:50 AM, McQueen, Allison L. <amcqueen@jonesday.com> wrote:


        Please let us know when you are available on Monday and Tuesday.

        Allison (Ally) McQueen
        Associate
        JONES DAY® - One Firm Worldwide℠
        110 North Wacker Drive
        Chicago, IL 60606
        Office +1.312.269.1541
        amcqueen@jonesday.com



        From: Gabrielle Vinci <GVinci@nmllplaw.com>
        Date: Thursday, May 09, 2024 at 8:33 AM
        To: McQueen, Allison L. <amcqueen@jonesday.com>
        Cc: Matthews, Jordan M. <jmatthews@jonesday.com>, Biesenthal, Bethany K. <bbiesenthal@jonesday.com>,
        Hart, Robert F. <rhart@jonesday.com>, Lee, Andrew <andrewlee@jonesday.com>, Lanchantin, Holly
        <hlanchantin@jonesday.com>, Jordan Tuchman <jtuchman@nmllplaw.com>, Andrew T. Miltenberg
        <AMiltenberg@nmllplaw.com>, Kara Gorycki <KGorycki@nmllplaw.com>, damon@cheronislaw.com
        <damon@cheronislaw.com>
        Subject: Re: Richardson v. Northwestern University, et al. -- Discovery Responses for Amanda DaSilva
        Hi Allison. I have to cover a court appearance this afternoon and need to move our call. I am available tomorrow between noon and 5pm EST. Please let me know if any time in that block works otherwise I will send some times for Monday and Tuesday.




        Hi Allison. I have to cover a court appearance this afternoon and need to move our call. I am available tomorrow
        between noon and 5pm EST. Please let me know if any time in that block works otherwise I will send some times
        for Monday and Tuesday. Thanks.



        <nmllpnewyork-boston-
        paloaltologosignature6-
        30_86761340-f12a-4199-a5e2-
        ef3472a044a9.jpg>

                                                                                                                                                                                                                                                                 6
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Gabrielle Vinci, Partner
363 Seventh Avenue, 5th Floor
New York, NY 10001-3904
212.736.4500 • 212.736.2260 fax
Vcard • nmllplaw.com

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attachments without copying or disclosing the contents.




        On May 6, 2024, at 12:03 PM, McQueen, Allison L. <amcqueen@jonesday.com> wrote:


        Hi Gabrielle,

        Thank you for the update. I will send an invite for Thursday at 2:30 p.m. ET.

        Best,
        Ally

        Allison (Ally) McQueen
        Associate
        JONES DAY® - One Firm Worldwide℠
        110 North Wacker Drive
        Chicago, IL 60606
        Office +1.312.269.1541
        amcqueen@jonesday.com

        From: Gabrielle Vinci <GVinci@nmllplaw.com>
        Sent: Monday, May 6, 2024 10:48 AM
        To: McQueen, Allison L. <amcqueen@jonesday.com>
        Cc: Matthews, Jordan M. <jmatthews@jonesday.com>; Biesenthal, Bethany K.
        <bbiesenthal@jonesday.com>; Hart, Robert F. <rhart@jonesday.com>; Lee, Andrew
        <andrewlee@jonesday.com>; Lanchantin, Holly <hlanchantin@jonesday.com>; Jordan
        Tuchman <jtuchman@nmllplaw.com>; Andrew T. Miltenberg
        <AMiltenberg@nmllplaw.com>; Kara Gorycki <KGorycki@nmllplaw.com>;
        damon@cheronislaw.com
        Subject: RE: Richardson v. Northwestern University, et al. -- Discovery Responses for
        Amanda DaSilva


        Good afternoon, Allison,

        I have spoken to our ESI team and Plaintiff regarding the supplemental
        production. The ESI team advised that the issues with the initial collection have
        been addressed and expect to produce document for my review before production
                                                    7
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     this week. I expect to be able to begin rolling production and any
     amended/supplemental responses by early-mid next week.

     With respect to a meet and confer, I am available any time between 2:30-4pm
     EST on Thursday, May 9th. Feel free to send a calendar invite for a convenient
     time for you.

     Thank you,
     Gabrielle



     <image001.jpg>


     Gabrielle Vinci, Partner
     363 Seventh Avenue, 5th Floor
     New York, NY 10001-3904
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     Vcard • nmllplaw.com

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     you have received it in error, please advise the sender by reply email and immediately
     delete the message and any attachments without copying or disclosing the contents.



     From: McQueen, Allison L. <amcqueen@jonesday.com>
     Sent: Friday, May 3, 2024 5:11 PM
     To: Gabrielle Vinci <GVinci@nmllplaw.com>
     Cc: Matthews, Jordan M. <jmatthews@jonesday.com>; Biesenthal, Bethany K.
     <bbiesenthal@jonesday.com>; Hart, Robert F. <rhart@jonesday.com>; Lee, Andrew
     <andrewlee@jonesday.com>; Lanchantin, Holly <hlanchantin@jonesday.com>; Jordan
     Tuchman <jtuchman@nmllplaw.com>; Andrew T. Miltenberg
     <AMiltenberg@nmllplaw.com>; Kara Gorycki <KGorycki@nmllplaw.com>;
     damon@cheronislaw.com
     Subject: RE: Richardson v. Northwestern University, et al. -- Discovery Responses for
     Amanda DaSilva

     Gabrielle,

     A letter laying out the outstanding deficiencies in Plaintiff’s responses to Defendant
     Polisky’s First Set of Interrogatories and First Requests for Production of Documents is
     attached.

     As stated in the letter, please let us know by Monday, May 6 when we can expect to
     receive Plaintiff’s supplemental productions. In addition, please let us know if any of
     the following dates/times next week would work with your schedule for a meet and
     confer:
         • Tuesday, May 7: 11:15–12:00 p.m. ET
         • Thursday, May 9: 11:00–12:45 p.m. or 2:00–4:00 p.m. ET

                                                  8
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     Have a nice weekend,
     Ally

     Allison (Ally) McQueen
     Associate
     JONES DAY® - One Firm Worldwide℠
     110 North Wacker Drive
     Chicago, IL 60606
     Office +1.312.269.1541
     amcqueen@jonesday.com

     From: McQueen, Allison L.
     Sent: Monday, April 29, 2024 8:23 PM
     To: Gabrielle Vinci <GVinci@nmllplaw.com>
     Cc: Matthews, Jordan M. <jmatthews@jonesday.com>; Biesenthal, Bethany K.
     <bbiesenthal@jonesday.com>; Hart, Robert F. <rhart@jonesday.com>; Lee, Andrew
     <andrewlee@jonesday.com>; Lanchantin, Holly <hlanchantin@jonesday.com>; Jordan
     Tuchman <jtuchman@nmllplaw.com>; Andrew T. Miltenberg
     <AMiltenberg@nmllplaw.com>; Kara Gorycki <KGorycki@nmllplaw.com>;
     damon@cheronislaw.com
     Subject: RE: Richardson v. Northwestern University, et al. -- Discovery Responses for
     Amanda DaSilva

     Hi Gabrielle,

     I hope your week is off to a good start.

     When you have a chance, could you let us know when we can expect to receive
     additional supplemental productions from Plaintiff? Based on the cover letters you
     have provided, it looks like we have only received documents responsive to Request for
     Production Nos. 43–45. We understand there have been some delays with your ESI
     provider, but we would appreciate an update on the documents responsive to the non-
     ESI Requests flagged in our March 7, 2024 letter (namely, Request for Production Nos. 4,
     5, 8, 13, 14, 15, 17, 18, 22, 25, 29, 30, 31, 35, 36–41, 46, 47, 49).

     Best,
     Ally

     Allison (Ally) McQueen
     Associate
     JONES DAY® - One Firm Worldwide℠
     110 North Wacker Drive
     Chicago, IL 60606
     Office +1.312.269.1541
     amcqueen@jonesday.com

     From: Hart, Robert F. <rhart@jonesday.com>
     Sent: Tuesday, April 9, 2024 7:46 AM
     To: Gabrielle Vinci <GVinci@nmllplaw.com>
     Cc: McQueen, Allison L. <amcqueen@jonesday.com>; Jordan Tuchman
     <jtuchman@nmllplaw.com>; Matthews, Jordan M. <jmatthews@jonesday.com>;
     Biesenthal, Bethany K. <bbiesenthal@jonesday.com>; Andrew T. Miltenberg
     <AMiltenberg@nmllplaw.com>; Kara Gorycki <KGorycki@nmllplaw.com>;
     damon@cheronislaw.com; Lee, Andrew <andrewlee@jonesday.com>; Lanchantin, Holly
                                                9
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     <hlanchantin@jonesday.com>
     Subject: RE: Richardson v. Northwestern University, et al. -- Discovery Responses for
     Amanda DaSilva

     Great – thank you so much.

     From: Gabrielle Vinci <GVinci@nmllplaw.com>
     Sent: Tuesday, April 9, 2024 7:44 AM
     To: Hart, Robert F. <rhart@jonesday.com>
     Cc: McQueen, Allison L. <amcqueen@jonesday.com>; Jordan Tuchman
     <jtuchman@nmllplaw.com>; Matthews, Jordan M. <jmatthews@jonesday.com>;
     Biesenthal, Bethany K. <bbiesenthal@jonesday.com>; Andrew T. Miltenberg
     <AMiltenberg@nmllplaw.com>; Kara Gorycki <KGorycki@nmllplaw.com>;
     damon@cheronislaw.com; Lee, Andrew <andrewlee@jonesday.com>; Lanchantin, Holly
     <hlanchantin@jonesday.com>
     Subject: Re: Richardson v. Northwestern University, et al. -- Discovery Responses for
     Amanda DaSilva
     Good morning, Robert. They will begin coming through this morning. Thank you. Gabrielle Vinci, Partner 363 Seventh Avenue, 5th Floor New York, NY 10001-3904 212. 736. 4500 • 212. 736. 2260 fax Vcard • nmllplaw. com NOTICE: This communication




     Good morning, Robert. They will begin coming through this morning. Thank you.



     <image001.jpg>


     Gabrielle Vinci, Partner
     363 Seventh Avenue, 5th Floor
     New York, NY 10001-3904
     212.736.4500 • 212.736.2260 fax
     Vcard • nmllplaw.com

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     delete the message and any attachments without copying or disclosing the contents.



                                                                                          On Apr 9, 2024, at 8:33 AM, Hart, Robert F. <rhart@jonesday.com>
                                                                                          wrote:


                                                                                          Gabrielle –

                                                                                          I hope you had a nice weekend. It’s my understanding that Plaintiff was
                                                                                          going to begin serving supplemental responses yesterday – please let us
                                                                                          know when we an expect to receive them.

                                                                                          Thanks,
                                                                                          Rob

                                                                                          From: McQueen, Allison L. <amcqueen@jonesday.com>
                                                                                          Sent: Monday, April 1, 2024 1:19 PM
                                                                                                                                                                                                                                                         10
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            To: Jordan Tuchman <jtuchman@nmllplaw.com>; Gabrielle Vinci
            <GVinci@nmllplaw.com>
            Cc: Matthews, Jordan M. <jmatthews@jonesday.com>; Biesenthal,
            Bethany K. <bbiesenthal@jonesday.com>; Andrew T. Miltenberg
            <AMiltenberg@nmllplaw.com>; Kara Gorycki
            <KGorycki@nmllplaw.com>; damon@cheronislaw.com; Hart, Robert F.
            <rhart@jonesday.com>; Lee, Andrew <andrewlee@jonesday.com>;
            Lanchantin, Holly <hlanchantin@jonesday.com>
            Subject: RE: Richardson v. Northwestern University, et al. -- Discovery
            Responses for Amanda DaSilva

            That works. I will send a Teams invite to you and Gabrielle. Let me
            know if there is anyone you would like me to include from your team.

            Allison (Ally) McQueen
            Associate
            JONES DAY® - One Firm Worldwide℠
            110 North Wacker Drive
            Chicago, IL 60606
            Office +1.312.269.1541
            amcqueen@jonesday.com

            From: Jordan Tuchman <jtuchman@nmllplaw.com>
            Sent: Monday, April 1, 2024 1:06 PM
            To: McQueen, Allison L. <amcqueen@jonesday.com>; Gabrielle Vinci
            <GVinci@nmllplaw.com>
            Cc: Matthews, Jordan M. <jmatthews@jonesday.com>; Biesenthal,
            Bethany K. <bbiesenthal@jonesday.com>; Andrew T. Miltenberg
            <AMiltenberg@nmllplaw.com>; Kara Gorycki
            <KGorycki@nmllplaw.com>; damon@cheronislaw.com; Hart, Robert F.
            <rhart@jonesday.com>; Lee, Andrew <andrewlee@jonesday.com>;
            Lanchantin, Holly <hlanchantin@jonesday.com>
            Subject: Re: Richardson v. Northwestern University, et al. -- Discovery
            Responses for Amanda DaSilva
            Hi Ally, How is 10AM EST? Best, Jordan Jordan Tuchman 363 Seventh Avenue, 5th Floor New York, NY 10001-3904 212. 736. 4500 nmllplaw. com NOTICE: This communication may contain privileged or other confidential information. If you have received




            Hi Ally,

            How is 10AM EST?

            Best,
            Jordan


            <image001.jpg>


            Jordan Tuchman
            363 Seventh Avenue, 5th Floor
            New York, NY 10001-3904
            212.736.4500
            nmllplaw.com
                                                                                                                                                                                                                                                                 11
Case: 1:21-cv-00522 Document #: 169-5 Filed: 06/19/24 Page 13 of 29 PageID #:1336
            NOTICE: This communication may contain privileged or other
            confidential information. If you have received it in error, please
            advise the sender by reply email and immediately delete the
            message and any attachments without copying or disclosing the
            contents.



            From: McQueen, Allison L. <amcqueen@jonesday.com>
            Sent: Monday, April 1, 2024 1:35 PM
            To: Jordan Tuchman <jtuchman@nmllplaw.com>; Gabrielle Vinci
            <GVinci@nmllplaw.com>
            Cc: Matthews, Jordan M. <jmatthews@jonesday.com>; Biesenthal,
            Bethany K. <bbiesenthal@jonesday.com>; Andrew T. Miltenberg
            <AMiltenberg@nmllplaw.com>; Kara Gorycki
            <KGorycki@nmllplaw.com>; damon@cheronislaw.com
            <damon@cheronislaw.com>; Hart, Robert F. <rhart@jonesday.com>;
            Lee, Andrew <andrewlee@jonesday.com>; Lanchantin, Holly
            <hlanchantin@jonesday.com>
            Subject: RE: Richardson v. Northwestern University, et al. -- Discovery
            Responses for Amanda DaSilva

            Hi Jordan,

            We’re open before 1:00 p.m. CT tomorrow. Please let us know if there
            is a time in that window that would work for your team.

            Best,
            Ally

            Allison (Ally) McQueen
            Associate
            JONES DAY® - One Firm Worldwide℠
            110 North Wacker Drive
            Chicago, IL 60606
            Office +1.312.269.1541
            amcqueen@jonesday.com

            From: Jordan Tuchman <jtuchman@nmllplaw.com>
            Sent: Monday, April 1, 2024 10:52 AM
            To: McQueen, Allison L. <amcqueen@jonesday.com>; Gabrielle Vinci
            <GVinci@nmllplaw.com>
            Cc: Matthews, Jordan M. <jmatthews@jonesday.com>; Biesenthal,
            Bethany K. <bbiesenthal@jonesday.com>; Andrew T. Miltenberg
            <AMiltenberg@nmllplaw.com>; Kara Gorycki
            <KGorycki@nmllplaw.com>; damon@cheronislaw.com; Hart, Robert F.
            <rhart@jonesday.com>; Lee, Andrew <andrewlee@jonesday.com>;
            Lanchantin, Holly <hlanchantin@jonesday.com>
            Subject: RE: Richardson v. Northwestern University, et al. -- Discovery
            Responses for Amanda DaSilva
            Hi Allison, Gabrielle is stuck in court today. Can you please provide us with your availability tomorrow? Best, Jordan




            Hi Allison,


                                                                                                                                     12
Case: 1:21-cv-00522 Document #: 169-5 Filed: 06/19/24 Page 14 of 29 PageID #:1337
            Gabrielle is stuck in court today. Can you please provide us with
            your availability tomorrow?

            Best,
            Jordan




            <image001.jpg>


            Jordan Tuchman
            363 Seventh Avenue, 5th Floor
            New York, NY 10001-3904
            212.736.4500
            nmllplaw.com

            NOTICE: This communication may contain privileged or other
            confidential information. If you have received it in error, please advise the
            sender by reply email and immediately delete the message and any
            attachments without copying or disclosing the contents.



            From: McQueen, Allison L. <amcqueen@jonesday.com>
            Sent: Friday, March 29, 2024 2:56 PM
            To: Gabrielle Vinci <GVinci@nmllplaw.com>
            Cc: Matthews, Jordan M. <jmatthews@jonesday.com>; Biesenthal,
            Bethany K. <bbiesenthal@jonesday.com>; Andrew T. Miltenberg
            <AMiltenberg@nmllplaw.com>; Kara Gorycki
            <KGorycki@nmllplaw.com>; damon@cheronislaw.com; Hart, Robert F.
            <rhart@jonesday.com>; Lee, Andrew <andrewlee@jonesday.com>;
            Lanchantin, Holly <hlanchantin@jonesday.com>; Jordan Tuchman
            <jtuchman@nmllplaw.com>
            Subject: RE: Richardson v. Northwestern University, et al. -- Discovery
            Responses for Amanda DaSilva

            Please let us know if you are available on Monday after 3:30 ET. If that
            window doesn’t work I can propose additional times later in the week.

            Allison (Ally) McQueen
            Associate
            JONES DAY® - One Firm Worldwide℠
            110 North Wacker Drive
            Chicago, IL 60606
            Office +1.312.269.1541
            amcqueen@jonesday.com

            From: Gabrielle Vinci <GVinci@nmllplaw.com>
            Sent: Friday, March 29, 2024 12:23 PM
            To: McQueen, Allison L. <amcqueen@jonesday.com>
            Cc: Matthews, Jordan M. <jmatthews@jonesday.com>; Biesenthal,
            Bethany K. <bbiesenthal@jonesday.com>; Andrew T. Miltenberg
                                                 13
Case: 1:21-cv-00522 Document #: 169-5 Filed: 06/19/24 Page 15 of 29 PageID #:1338

            <AMiltenberg@nmllplaw.com>; Kara Gorycki
            <KGorycki@nmllplaw.com>; damon@cheronislaw.com; Hart, Robert F.
            <rhart@jonesday.com>; Lee, Andrew <andrewlee@jonesday.com>;
            Lanchantin, Holly <hlanchantin@jonesday.com>; Jordan Tuchman
            <jtuchman@nmllplaw.com>
            Subject: RE: Richardson v. Northwestern University, et al. -- Discovery
            Responses for Amanda DaSilva
            Hi Allison, I need to move our call as Ms. Tuchman has to leave early for a medical appointment and I need her on the call as she has been involved in the review and response of the deficiency notice. Are you available early next week? As an




            Hi Allison,

            I need to move our call as Ms. Tuchman has to leave early for a
            medical appointment and I need her on the call as she has been
            involved in the review and response of the deficiency notice. Are
            you available early next week?

            As an aside, I spoke with my client yesterday and we should be
            producing supplemental/amended responses which address a
            number of the items in your letter early next week as well.

            Thank you,
            Gabrielle



            <image001.jpg>


            Gabrielle Vinci, Partner
            363 Seventh Avenue, 5th Floor
            New York, NY 10001-3904
            212.736.4500 • 212.736.2260 fax
            Vcard • nmllplaw.com

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            confidential information. If you have received it in error, please advise the
            sender by reply email and immediately delete the message and any
            attachments without copying or disclosing the contents.



            From: McQueen, Allison L. <amcqueen@jonesday.com>
            Sent: Friday, March 22, 2024 12:45 PM
            To: Gabrielle Vinci <GVinci@nmllplaw.com>
            Cc: Matthews, Jordan M. <jmatthews@jonesday.com>; Biesenthal,
            Bethany K. <bbiesenthal@jonesday.com>; Andrew T. Miltenberg
            <AMiltenberg@nmllplaw.com>; Kara Gorycki
            <KGorycki@nmllplaw.com>; damon@cheronislaw.com; Hart, Robert F.
            <rhart@jonesday.com>; Lee, Andrew <andrewlee@jonesday.com>;
            Lanchantin, Holly <hlanchantin@jonesday.com>; Jordan Tuchman
            <jtuchman@nmllplaw.com>
            Subject: RE: Richardson v. Northwestern University, et al. -- Discovery
            Responses for Amanda DaSilva
                                                                                                                                                                                                                                                                14
Case: 1:21-cv-00522 Document #: 169-5 Filed: 06/19/24 Page 16 of 29 PageID #:1339


            Hi Gabrielle,

            I hope you are feeling better!

            If you or another member of your team have time next week we would
            greatly appreciate the chance to discuss the deficiency letter we sent on
            March 7. Please let us know if a time in one of these windows would
            work on your end:
                 1. Monday, March 25: Any time after 3:00 p.m. ET
                 2. Friday, March 29: 12:30 p.m.–2:00 p.m. ET or any time after
                     2:30 p.m. ET

            If another day next week would be more convenient please let us know.

            Best,
            Ally

            Allison (Ally) McQueen
            Associate
            JONES DAY® - One Firm Worldwide℠
            110 North Wacker Drive
            Chicago, IL 60606
            Office +1.312.269.1541
            amcqueen@jonesday.com

            From: McQueen, Allison L.
            Sent: Monday, March 18, 2024 2:34 PM
            To: Gabrielle Vinci <GVinci@nmllplaw.com>
            Cc: Matthews, Jordan M. <jmatthews@jonesday.com>; Biesenthal,
            Bethany K. <bbiesenthal@jonesday.com>; Andrew T. Miltenberg
            <AMiltenberg@nmllplaw.com>; Kara Gorycki
            <KGorycki@nmllplaw.com>; damon@cheronislaw.com; Hart, Robert F.
            <rhart@jonesday.com>; Lee, Andrew <andrewlee@jonesday.com>;
            Lanchantin, Holly <hlanchantin@jonesday.com>; Jordan Tuchman
            <jtuchman@nmllplaw.com>
            Subject: RE: Richardson v. Northwestern University, et al. -- Discovery
            Responses for Amanda DaSilva

            Hi Gabrielle,

            Thank you for letting us know. I hope you’re feeling ok.

            Could we get some time on the calendar later in the week to discuss,
            please? Here are some times our team is available:
                1. Wednesday, March 20: 3:00–4:30 p.m. ET
                2. Thursday, March 21: 12:30–3:00 p.m. or 4:00–4:30 p.m. ET

            Best,
            Ally

            Allison (Ally) McQueen
            Associate
            JONES DAY® - One Firm Worldwide℠
                                               15
Case: 1:21-cv-00522 Document #: 169-5 Filed: 06/19/24 Page 17 of 29 PageID #:1340
            110 North Wacker Drive
            Chicago, IL 60606
            Office +1.312.269.1541
            amcqueen@jonesday.com

            From: Gabrielle Vinci <GVinci@nmllplaw.com>
            Sent: Monday, March 18, 2024 2:18 PM
            To: McQueen, Allison L. <amcqueen@jonesday.com>
            Cc: Matthews, Jordan M. <jmatthews@jonesday.com>; Biesenthal,
            Bethany K. <bbiesenthal@jonesday.com>; Andrew T. Miltenberg
            <AMiltenberg@nmllplaw.com>; Kara Gorycki
            <KGorycki@nmllplaw.com>; damon@cheronislaw.com; Hart, Robert F.
            <rhart@jonesday.com>; Lee, Andrew <andrewlee@jonesday.com>;
            Lanchantin, Holly <hlanchantin@jonesday.com>; Jordan Tuchman
            <jtuchman@nmllplaw.com>
            Subject: RE: Richardson v. Northwestern University, et al. -- Discovery
            Responses for Amanda DaSilva
            Hi Allison, I have to move our call this morning. I truly do apologize but I am unexpectedly still at a doctor appointment (candidly, I am experiencing some pregnancy complications that my care team is trying to figure out and have been back




            Hi Allison,

            I have to move our call this morning. I truly do apologize but I am
            unexpectedly still at a doctor appointment (candidly, I am
            experiencing some pregnancy complications that my care team is
            trying to figure out and have been back and forth over the past few
            weeks).

            To move things along, I have had my colleague who is joining the
            case review and also draft a written response to your deficiency
            notice. I will have her (or if I am back I shall) send that to you this
            week so we can perhaps have a more productive meet and confer
            after your review.

            Thank you again for your continued understanding.

            Gabrielle



            <image001.jpg>


            Gabrielle Vinci, Partner
            363 Seventh Avenue, 5th Floor
            New York, NY 10001-3904
            212.736.4500 • 212.736.2260 fax
            Vcard • nmllplaw.com

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            confidential information. If you have received it in error, please advise the
            sender by reply email and immediately delete the message and any
            attachments without copying or disclosing the contents.
                                                                                                                                                                                                                                                                16
Case: 1:21-cv-00522 Document #: 169-5 Filed: 06/19/24 Page 18 of 29 PageID #:1341


            From: McQueen, Allison L. <amcqueen@jonesday.com>
            Sent: Thursday, March 14, 2024 10:27 AM
            To: Gabrielle Vinci <GVinci@nmllplaw.com>
            Cc: Matthews, Jordan M. <jmatthews@jonesday.com>; Biesenthal,
            Bethany K. <bbiesenthal@jonesday.com>; Andrew T. Miltenberg
            <AMiltenberg@nmllplaw.com>; Kara Gorycki
            <KGorycki@nmllplaw.com>; damon@cheronislaw.com; Hart, Robert F.
            <rhart@jonesday.com>; Lee, Andrew <andrewlee@jonesday.com>;
            Lanchantin, Holly <hlanchantin@jonesday.com>; Jordan Tuchman
            <jtuchman@nmllplaw.com>
            Subject: RE: Richardson v. Northwestern University, et al. -- Discovery
            Responses for Amanda DaSilva

            Thanks, Gabrielle. We will give you a call on Monday.

            Allison (Ally) McQueen
            Associate
            JONES DAY® - One Firm Worldwide℠
            110 North Wacker Drive
            Chicago, IL 60606
            Office +1.312.269.1541
            amcqueen@jonesday.com

            From: Gabrielle Vinci <GVinci@nmllplaw.com>
            Sent: Thursday, March 14, 2024 7:13 AM
            To: McQueen, Allison L. <amcqueen@jonesday.com>
            Cc: Matthews, Jordan M. <jmatthews@jonesday.com>; Biesenthal,
            Bethany K. <bbiesenthal@jonesday.com>; Andrew T. Miltenberg
            <AMiltenberg@nmllplaw.com>; Kara Gorycki
            <KGorycki@nmllplaw.com>; damon@cheronislaw.com; Hart, Robert F.
            <rhart@jonesday.com>; Lee, Andrew <andrewlee@jonesday.com>;
            Lanchantin, Holly <hlanchantin@jonesday.com>; Jordan Tuchman
            <jtuchman@nmllplaw.com>
            Subject: Re: Richardson v. Northwestern University, et al. -- Discovery
            Responses for Amanda DaSilva
            Hi Allison, Monday at 4: 30 will work for me Gabrielle Vinci, Partner 363 Seventh Avenue, 5th Floor New York, NY 10001-3904 212. 736. 4500 • 212. 736. 2260 fax Vcard • nmllplaw. com NOTICE: This communication may contain privileged




            Hi Allison,
            Monday at 4:30 will work for me



            <image001.jpg>


            Gabrielle Vinci, Partner
            363 Seventh Avenue, 5th Floor
            New York, NY 10001-3904
            212.736.4500 • 212.736.2260 fax
            Vcard • nmllplaw.com


                                                                                                                                                                                                                                                      17
Case: 1:21-cv-00522 Document #: 169-5 Filed: 06/19/24 Page 19 of 29 PageID #:1342
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            sender by reply email and immediately delete the message and any
            attachments without copying or disclosing the contents.



                    On Mar 13, 2024, at 5:04 PM, McQueen, Allison L.
                    <amcqueen@jonesday.com> wrote:


                    Hi Gabrielle,

                    Guessing you got tied up—could we reschedule for
                    Monday, March 18, please? Here are times our team is
                    available:
                        1. 11:30 a.m.–2:30 p.m. ET
                        2. After 4:00 p.m. ET

                    Best,
                    Ally

                    Allison (Ally) McQueen
                    Associate
                    JONES DAY® - One Firm Worldwide℠
                    110 North Wacker Drive
                    Chicago, IL 60606
                    Office +1.312.269.1541
                    amcqueen@jonesday.com

                    From: Matthews, Jordan M.
                    <jmatthews@jonesday.com>
                    Sent: Wednesday, March 13, 2024 10:10 AM
                    To: Gabrielle Vinci <GVinci@nmllplaw.com>; McQueen,
                    Allison L. <amcqueen@jonesday.com>
                    Cc: Biesenthal, Bethany K.
                    <bbiesenthal@jonesday.com>; Andrew T. Miltenberg
                    <AMiltenberg@nmllplaw.com>; Kara Gorycki
                    <KGorycki@nmllplaw.com>; damon@cheronislaw.com;
                    Hart, Robert F. <rhart@jonesday.com>; Lee, Andrew
                    <andrewlee@jonesday.com>; Lanchantin, Holly
                    <hlanchantin@jonesday.com>; Jordan Tuchman
                    <jtuchman@nmllplaw.com>
                    Subject: RE: Richardson v. Northwestern University, et
                    al. -- Discovery Responses for Amanda DaSilva

                    Hi Gabrielle –

                    Any chance we can reschedule for later this
                    afternoon? My schedule is relatively open today.

                    Thanks,
                    Jordan


                                                 18
Case: 1:21-cv-00522 Document #: 169-5 Filed: 06/19/24 Page 20 of 29 PageID #:1343

                  Jordan M. Matthews (bio)
                  Partner
                  JONES DAY® - One Firm Worldwide®
                  110 N. Wacker Dr., Suite 4800
                  Chicago, Illinois 60606
                  Office 312.269.4169
                  jmatthews@jonesday.com

                  From: Gabrielle Vinci <GVinci@nmllplaw.com>
                  Sent: Wednesday, March 13, 2024 9:48 AM
                  To: McQueen, Allison L. <amcqueen@jonesday.com>
                  Cc: Biesenthal, Bethany K.
                  <bbiesenthal@jonesday.com>; Matthews, Jordan M.
                  <jmatthews@jonesday.com>; Andrew T. Miltenberg
                  <AMiltenberg@nmllplaw.com>; Kara Gorycki
                  <KGorycki@nmllplaw.com>; damon@cheronislaw.com;
                  Hart, Robert F. <rhart@jonesday.com>; Lee, Andrew
                  <andrewlee@jonesday.com>; Lanchantin, Holly
                  <hlanchantin@jonesday.com>; Jordan Tuchman
                  <jtuchman@nmllplaw.com>
                  Subject: Re: Richardson v. Northwestern University, et
                  al. -- Discovery Responses for Amanda DaSilva
                  Hi Ally. I am stuck in court and need to move our call. Are you available any time on Friday or Mon and Tuesday next week? If not, let me know what time on Wednesday works as my associate, Jordan Tuchman, may be able to handle the call. Thanks.




                  Hi Ally. I am stuck in court and need to move our call.
                  Are you available any time on Friday or Mon and
                  Tuesday next week?

                  If not, let me know what time on Wednesday works as
                  my associate, Jordan Tuchman, may be able to handle
                  the call. Thanks.



                  <image001.jpg>


                  Gabrielle Vinci, Partner
                  363 Seventh Avenue, 5th Floor
                  New York, NY 10001-3904
                  212.736.4500 • 212.736.2260 fax
                  Vcard • nmllplaw.com

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                  other confidential information. If you have received it in
                  error, please advise the sender by reply email and
                  immediately delete the message and any attachments
                  without copying or disclosing the contents.



                                                                                                        On Mar 12, 2024, at 2:32 PM, Gabrielle
                                                                                                        Vinci <GVinci@nmllplaw.com> wrote:

                                                                                                                                                                                                                                                                         19
Case: 1:21-cv-00522 Document #: 169-5 Filed: 06/19/24 Page 21 of 29 PageID #:1344


                        Hi Ally,

                        Tomorrow at 11:30 ET works for
                        me. Please reach me at my office or
                        let me know if you’d like me to send
                        a conference number. Thank you.



                        <nmllpnewyork-boston-
                        paloaltologosignature6-
                        30_86761340-f12a-4199-a5e2-
                        ef3472a044a9.jpg>



                        Gabrielle Vinci, Partner
                        363 Seventh Avenue, 5th Floor
                        New York, NY 10001-3904
                        212.736.4500 • 212.736.2260 fax
                        Vcard • nmllplaw.com

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                        contain privileged or other confidential
                        information. If you have received it in
                        error, please advise the sender by reply
                        email and immediately delete the
                        message and any attachments without
                        copying or disclosing the contents.



                        From: McQueen, Allison L.
                        <amcqueen@jonesday.com>
                        Sent: Tuesday, March 12, 2024 2:27 PM
                        To: Gabrielle Vinci
                        <GVinci@nmllplaw.com>
                        Cc: Biesenthal, Bethany K.
                        <bbiesenthal@jonesday.com>;
                        Matthews, Jordan M.
                        <jmatthews@jonesday.com>; Andrew
                        T. Miltenberg
                        <AMiltenberg@nmllplaw.com>; Kara
                        Gorycki <KGorycki@nmllplaw.com>;
                        damon@cheronislaw.com; Hart, Robert
                        F. <rhart@jonesday.com>; Lee, Andrew
                        <andrewlee@jonesday.com>;
                        Lanchantin, Holly
                        <hlanchantin@jonesday.com>
                        Subject: RE: Richardson v.
                        Northwestern University, et al. --

                                           20
Case: 1:21-cv-00522 Document #: 169-5 Filed: 06/19/24 Page 22 of 29 PageID #:1345

                        Discovery Responses for Amanda
                        DaSilva

                        Hi Gabrielle,

                        Following up on my email last week,
                        could we set up a time to discuss
                        Plaintiff’s discovery responses? Jordan
                        and I are still available at the times I
                        proposed for tomorrow. We will also
                        be open next Wednesday, March 20
                        before 11:30 a.m. ET.

                        Best,
                        Ally

                        Allison (Ally) McQueen
                        Associate
                        JONES DAY® - One Firm Worldwide℠
                        110 North Wacker Drive
                        Chicago, IL 60606
                        Office +1.312.269.1541
                        amcqueen@jonesday.com

                        From: McQueen, Allison L.
                        Sent: Thursday, March 7, 2024 1:10 PM
                        To: Gabrielle Vinci
                        <GVinci@nmllplaw.com>
                        Cc: Biesenthal, Bethany K.
                        <bbiesenthal@jonesday.com>;
                        Matthews, Jordan M.
                        <jmatthews@jonesday.com>;
                        amiltenberg@nmllplaw.com;
                        KGorycki@nmllplaw.com;
                        damon@cheronislaw.com; Hart, Robert
                        F. <rhart@jonesday.com>; Lee, Andrew
                        <andrewlee@jonesday.com>;
                        Lanchantin, Holly
                        <hlanchantin@jonesday.com>
                        Subject: RE: Richardson v.
                        Northwestern University, et al. --
                        Discovery Responses for Amanda
                        DaSilva

                        Hi Gabrielle,

                        I hope you’re doing well.

                        A letter laying out deficiencies in
                        Plaintiff’s responses to Defendant
                        Polisky’s initial discovery requests is
                        attached. If you have time next week
                        we would appreciate a call to discuss
                                           21
Case: 1:21-cv-00522 Document #: 169-5 Filed: 06/19/24 Page 23 of 29 PageID #:1346

                        this letter with you. Here are some
                        dates and times our team will be
                        available:
                             1. Tuesday, March 12: 10:30–
                                 11:30 a.m., 1:00–2:00 p.m., or
                                 after 4:30 p.m. ET
                             2. Wednesday, March 13: 11:30–
                                 12:00 p.m., 2:00–2:30 p.m,
                                 3:30–4:00 p.m., or after 4:30
                                 p.m. ET

                        Let us know if there is a time in one of
                        those windows that would work well
                        with your schedule.

                        Best,
                        Ally

                        Allison (Ally) McQueen
                        Associate
                        JONES DAY® - One Firm Worldwide℠
                        110 North Wacker Drive
                        Chicago, IL 60606
                        Office +1.312.269.1541
                        amcqueen@jonesday.com

                        From: Gabrielle Vinci
                        <GVinci@nmllplaw.com>
                        Sent: Friday, February 9, 2024 9:00 AM
                        To: McQueen, Allison L.
                        <amcqueen@jonesday.com>;
                        jamel.greer@akerman.com;
                        ckendall@chapmanspingola.com;
                        Andrew T. Miltenberg
                        <AMiltenberg@nmllplaw.com>; Kara
                        Gorycki <KGorycki@nmllplaw.com>;
                        rlevitt@beneschlaw.com;
                        damon@cheronislaw.com;
                        amy.doehring@akerman.com;
                        lakeisha.marsh@akerman.com;
                        kmhaase@michaelbest.com;
                        andrew.shelby@michaelbest.com;
                        BPPaul@michaelbest.com;
                        mkchropowicz@michaelbest.com;
                        Biesenthal, Bethany K.
                        <bbiesenthal@jonesday.com>;
                        Matthews, Jordan M.
                        <jmatthews@jonesday.com>;
                        awermuth@cozen.com
                        Subject: RE: Richardson v.
                        Northwestern University, et al. --
                        Discovery Responses for Amanda
                        DaSilva
                                            22
Case: 1:21-cv-00522 Document #: 169-5 Filed: 06/19/24 Page 24 of 29 PageID #:1347

                        All- Attached please find Plaintiff’s Responses and Objections to Defendant Polisky’s First Set of Interrogatories. Plaintiff’s responses to Defendant Polisky’s First Requests for Production shall follow shortly. Thank you, Gabrielle Vinci,




                        All-

                        Attached please find Plaintiff’s
                        Responses and Objections to
                        Defendant Polisky’s First Set of
                        Interrogatories. Plaintiff’s responses
                        to Defendant Polisky’s First
                        Requests for Production shall follow
                        shortly.

                        Thank you,



                        <image001.jpg>


                        Gabrielle Vinci, Partner
                        363 Seventh Avenue, 5th Floor
                        New York, NY 10001-3904
                        212.736.4500 • 212.736.2260 fax
                        Vcard • nmllplaw.com

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                        contain privileged or other confidential
                        information. If you have received it in
                        error, please advise the sender by reply
                        email and immediately delete the
                        message and any attachments without
                        copying or disclosing the contents.



                        From: McQueen, Allison L.
                        <amcqueen@jonesday.com>
                        Sent: Thursday, February 8, 2024 7:50
                        PM
                        To: jamel.greer@akerman.com;
                        ckendall@chapmanspingola.com;
                        Andrew T. Miltenberg
                        <AMiltenberg@nmllplaw.com>; Kara
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                                                                                                                                                                                                                                                  23
Case: 1:21-cv-00522 Document #: 169-5 Filed: 06/19/24 Page 25 of 29 PageID #:1348

                        mkchropowicz@michaelbest.com;
                        Biesenthal, Bethany K.
                        <bbiesenthal@jonesday.com>;
                        Matthews, Jordan M.
                        <jmatthews@jonesday.com>;
                        awermuth@cozen.com
                        Subject: RE: Richardson v.
                        Northwestern University, et al. --
                        Discovery Responses for Amanda
                        DaSilva

                        Counsel,

                        Defendant Mike Polisky’s responses to
                        Plaintiff’s first set of discovery requests
                        are attached.

                        Best,
                        Ally

                        Allison (Ally) McQueen
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                        JONES DAY® - One Firm Worldwide℠
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                        From: jamel.greer@akerman.com
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                        Sent: Thursday, February 8, 2024 5:51
                        PM
                        To: ckendall@chapmanspingola.com;
                        AMiltenberg@nmllplaw.com;
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                        Subject: RE: Richardson v.
                        Northwestern University, et al. --
                                            24
Case: 1:21-cv-00522 Document #: 169-5 Filed: 06/19/24 Page 26 of 29 PageID #:1349

                        Discovery Responses for Amanda
                        DaSilva
                        All, Please see the attached responses to plaintiff’s first set of discovery requests on behalf of Amanda DaSilva. Best, Jamel Jamel A. R. Greer (He/Him/His) Akerman LLP | 601 West Fifth Street, Suite 300 | Los Angeles, CA 90071 Akerman LLP




                        All,

                        Please see the attached responses to
                        plaintiff’s first set of discovery requests
                        on behalf of Amanda DaSilva.

                        Best,
                        Jamel

                        Jamel A.R. Greer
                        (He/Him/His)
                        Akerman LLP | 601 West Fifth Street, Suite
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                        Akerman LLP | 71 South Wacker Drive, 47th
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                        <image002.jpg>

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                        <ckendall@chapmanspingola.com>
                        Sent: Thursday, February 8, 2024 3:35
                        PM
                        To: Andrew T. Miltenberg
                        <AMiltenberg@nmllplaw.com>; Kara
                        Gorycki <KGorycki@nmllplaw.com>;
                        Gabrielle Vinci
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                        Doehring, Amy (Ptnr-Chi)
                        <amy.doehring@akerman.com>; Greer,
                        Jamel (Assoc-Lax)
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                                                                                                                                                                                                                                           25
      Case: 1:21-cv-00522 Document #: 169-5 Filed: 06/19/24 Page 27 of 29 PageID #:1350

                              LaKeisha (Ptnr-Chi)
                              <lakeisha.marsh@akerman.com>;
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                              Biesenthal, Bethany K.
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                              jmatthews@jonesday.com;
                              amcqueen@jonesday.com; Wermuth,
                              Anna <awermuth@cozen.com>
                              Subject: Richardson v. Northwestern
                              University, et al. -- Discovery Responses
                              for Pam Bonnevier


[External to Akerman]
                              Counsel:

                              I have attached Pam Bonnevier’s
                              responses to Plaintiff’s discovery
                              requests.

                              Chris

                              Christopher C. Kendall
                              Of Counsel
                              190 South LaSalle Street, Suite 3850
                              Chicago, IL 60603
                              Cell | 312-493-5274
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